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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                         Case No. 21-20408-CIV-MARTINEZ-BECERRA

  KENNETH CAREY,

         Plaintiff,

  v.

  JONATHAN KIRK, p/k/a DaBABY,
  KHALIK CALDWELL, p/k/a Stunna4 Vegas,
  BILLION DOLLAR BABY ENTERTAINMENT, LLC,
  a North Carolina Corporation,
  UNKNOWN CONSPIRATOR #1,
  UNKNOWN CONSPIRATOR #2,
  UNKNOWN CONSPIRATOR #3,
  UNKNOWN CONSPIRATOR #4,
  UNIVERSAL MUSIC GROUP, INC., a California Corporation, and
  INTERSCOPE RECORDS, a California Corporation,

        Defendants.
  ______________________________________/

        NOTICE TO STRIKE DOCKET ENTRY 23 PLAINTIFFS CERTIFICATE OF

                                      INTERESTED PARTIES

  Comes Now, Plaintiff KENNETH CAREY, via undersigned counsel, hereby serves this Notice

  of Striking Docket Entry 23, Plaintiff’s Certificate of Interested Parties, as instructed by This

  Court in Docket Entry 25, because the Wrong Event was selected when submitting the

  document.

  April 12th, 2021

                                         Respectfully Submitted,
                                         /s/ Jonathan May

                                         Jonathan May (0110057)
                                         The Lions’ Den, Attorneys at Law
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                               Attorney for Plaintiff’s Kenneth Carey and Steve Anyadike
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                                   CERTIFICATE OF SERVICE

  I hereby certify that on this 12th day of April, 2021, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system which will send Notice of Electronic Filing to

  all counsel of record that are registered with the Court’s CM/ECF system.

                                                                        /s/ Jonathan May Esq.

                                                                        Florida Bar No. 0110057
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